Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 1 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA

 

TALLAHASSEE DIVISION

DUNCAN MOORE, )
)
Plaintiff, )
)

Vv. } Case No. 4:09-cv-00273
)
TALLAHASSEE MEMORIAL )
HEALTHCARE, INC. )
A Florida non-profit corporation, )
)
Defendants. )

 

MUTUALLY AGREED FILING OF THE
ADMINISTRATIVE RECORD

Plaintiff, Duncan Moore and Defendant, Tallahassee Memorial HealthCare, Inc.
(“TMH”), hereby file the Administrative Record created in the evaluation of the claim for
benefits of Plaintiff, Duncan Moore (“Moore”), and the resultant appeal from the benefit
determination. The attached Administrative Record constitutes the documents considered by the
TMH Supplemental Executive Retirement Program (“SERP”) Claims Committee and the TMH
SERP Appeal Committee in determining Moore’s entitlement to benefits under the TMH SERP
pursuant to the claims procedure prescribed in 29 U.S.C. § 1133 and 29 C.F.R. § 2560.503-1.
The parties hereby stipulate to the admission of the Administrative Record into evidence in this

matter.

000001

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 2 of 50

Respectfully submitted,

HOLLAND & KNIGHT LLP

s/_Paul E. Parrish

PAUL E PARRISH

Fla, Bar No. 373117
STEPHEN H. GRIMES

Fla. Bar No. 0032005
HOLLAND & KNIGHT LLP
100 N. Tampa Street, Suite 4100
Tampa, FL 33602

P.O. Box 1288

Tampa, FL 33601-1288
Phone: 813-227-8500

Fax: 813-229-0134

Paul.parrish@hklaw.com

Attorneys for Plaintiff

AUSLEY & McMULLEN, P.A.

s/ Kenneth R. Hart

KENNETH R. HART

Fla. Bar No. 0192580

RUTH E. VAFEK

Fla. Bar No. 0034220

AUSLEY & McMULLEN, P.A.

P. O. Box 391

Tallahassee, FL 32302

Telephone: (850) 224-9115

Fax: (850) 222-7560

AND

S. JONATHAN VINE

FBN 0010966

RACHEL BEIGE

FBN 0016366

COLE, SCOTT & KISSANE, P.A.
1645 Palm Beach Lakes Blvd.2nd Floor
W. Palm Beach, FL 33401
Telephone: (561) 383-9203

Fax: (561) 683-8977

Attorneys for Defendant

000002

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 3 of 50

ADMINISTRATIVE RECORD

THE DOCUMENTS CONSIDERED BY THE TMH SUPPLEMENTAL
EXECUTIVE RETIREMENT PROGRAM CLAIMS COMMITTEE AND THE TMH
SUPPLEMENTAL EXECUTIVE RETIREMENT PROGRAM APPEAL COMMITTEE
IN EVALUATING DUNCAN MOORE’S CLAIM FOR BENEFITS UNDER THE
TALLAHASSEE MEMORIAL HOSPITAL, INC’S SUPPLEMENTAL EXECUTIVE

RETIREMENT PLAN.

000003

 

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 4 of 50

CONFIDENTIAL
PRIVILEGED/WORK PRODUCT INFORMATION

MEMORANDUM
(Note: Index of Attachments follows this Memorandum) -

TO: Plan (Benefits Review) Committee
Board of Directors
Tallahassee Memorial Healthcare, Inc.

FROM: Ed Moore

cc: Roberta Casper Watson
John Perry Thomas

DATE: April 28, 2006

 

Preface. This committee is charged with the responsibility of making the initial decision
regarding retirement benefits claimed by TMH’s former CEO, Duncan Moore. Mr.
Moore’s claim was filed by Certified Letter dated November 10, 2005
(Attachment No. 1}. The Committee is functioning under the authority and auspices of
the TMH Supplemental Executive Retirement Plan (as Restated on April 21, 2004),
provisions of ERISA (Employee Retirement Income Security Act of 1974, as amended),
and the delegated authority of the Board. The Committee’s charge is to determine the
appropriate retirement benefit. In discharging its obligation under ERISA! to determine
the appropriate benefit, the committee is not making a decision in the Board’s or TMH’s
best interest, but, rather, after review of all relevant information, is to make an objective
decision as to what benefit the claimant is entitled under “the Plan.” For this purpose, the
“Plan” is not confined to the Restated Plan adopted by the Board, but rather includes all
actions taken by TMH which may impact the claimed benefit. This memorandum will
provide the essential relevant information, as well as copies of supporting documents,
believed to be necessary and appropriate in order for the Committee to provide a fair and
objective review of the claimed benefit. Subsequently, at a comprehensive Committee
meeting scheduled for May 8, 2006, this Committee may deliberate, ask questions, seck
additional information or other support as it may need to reach its fair and objective
decision.

Introduction. Duncan Moore is the former CEO of Tallahassee Memorial Healthcare,
Inc. (“TMH”). His employment commenced January 29, 1988 and terminated in June
2003. Shortly after termination of his employment, additional information relating to his

 

'Tt is not clear whether the committee actually has ERISA fiduciary status in making this determination,
but Roberta Watson and I are recommending that the committee adhere to the standards that would be
applicable if the committee members are determined to be ERISA fiduciaries.

000004

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 5 of 50

and others’ potential claims for retirement benefits began to surface. (Some, if not most
of that information was previously available; however, the full import, including the
financial impact of the potential claims, was not fully known by the TMH Board and
auditors until the fall of 2003. Some additional relevant information and documents were
not available until recently.)

TMH previously conducted a comprehensive review and investigation of the facts and
circumstances relevant to the claim or claims asserted by Mr. Moore. The response of
the 2004 Board to all such benefit claims is set forth in Tallahassee Memorial
Healthcare, Inc. Supplemental Executive Retirement Plan, as amended and restated —
effective as of October 1, 2003, Restated SERP - Attachment No. 2). The Restated
Plan was adopted by the Board subsequent to Mr. Moore’s retirement and, thus, is not
directly binding upon him but may be considered by this committee as that Board’s effort
to determine and resolve the claims for retirement benefits. Additionally, by the filing of
his benefit claim, Mr.-Moore is (or is assumed to be) contending that the benefits as set
forth in the Restated Plan (and the Restated Plan’s limitations on those benefits) do not
encompass the full benefit to which he is entitled.

In his claim (Attachment No. 1), Mr. Moore asserts that the Employment Agreement
dated October 17, 2000 (Attachment No. 3) is the operative plan and that he is entitled to
the benefits set forth in paragraph 3.7 of that 2000 Employment Agreement.

Section 3.7 of that 2000 Employment Agreement describes the “Supplemental Executive
Retirement Program (SERP).” The committee’s essential charge then becomes to
determine what benefits Mr. Moore is entitled to under the SERP. (As used here, the
“SERP” is synonymous with the broad definition of “the Plan.”) The SERP, while
addressed in the 2000 Employment Agreement, has its genesis in, and is impacted by
actions of the Board, Board committees and Board officers as expressed in various
documents and meetings, which include minutes and correspondence of the 1998
Compensation Committee of the Board, the 1998 Employment Agreement, the 2000
Employment Agreement and the Agreement Regarding Early Retirement and
Termination of Employment. (All such documents are attached and will be subsequently
discussed and referenced.) As set forth above, while there may be some subsequent
litigation assertions to the contrary, it is believed appropriate for this committee to review
all facts, circumstances and documents relating to the claimed retirement benefits in
reaching its conclusion as to the appropriate benefit to be paid.

Board Precedent Regarding Approval of CEO and Executive Compensation. While
current corporate governance best practices require full and complete disclosure, third
party objective support, Board discussion, action and documentation with respect to
executive compensation, such was not the culture or practice at TMH during the relevant

2

000005

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 6 of 50

periods. A review of Board and Executive Committee minutes, as well as other available
documentation, shows that for the entire period of Duncan Moore’s employment, and
perhaps well before that time, CEO compensation, and to some extent that of other senior
executives, was addressed in a highly confidential manner, often with the Chairman of
the Board making a unilateral decision after such review as he deemed appropriate.
Sometimes, the Chairman included others, principally Executive Committee members or
Board officers. During this time period, 1988 to post 2000, there is no record in Board or
Executive Committee minutes of any compensation decision or action. (The assumed
justification for the truncated process is confidentiality.) While legal arguments may be
advanced to the contrary, it is suggested that the lack of full Board and/or Executive
Committee approval does not in and of itself obviate the legal obligations arising from
such TMH commitments. The lack of full corporate documentation does, however,
accentuate the necessity for a determination of the understanding and intent of the parties
at the time the written expressions were generated.

1988 Employment Agreement. Mr. Moore was employed by Tallahassee Memorial
Healthcare, Inc.’s predecessor, Tallahassee Memorial Regional Medical Center, Inc.
(hereinafter collectively referred to as “TMH”) on January 29, 1988, pursuant to a written
Employment Agreement (Attachment No. 4) executed as of that date. The 1988
Employment Agreement provides in part: “2. Compensation. In consideration for these
services as stated above, the Medical Center shall pay to Moore an amount mutually
agreed upon at an annual review of his compensation by the Executive Committee of the
Board, said amount not in any event to be less than the previous year’s salary. Moore
may, at his option, request and require that such portion of his salary as he may designate
be set aside as tax-deferred income subject to the requirements of the Internal Revenue

Service (IRS)... ”) Other “benefits” provided by the 1988 Employment Agreement
included:

> a $1 million life insurance policy;

> health insurance as made available to TMH employees;

>... general liability insurance coverage;

> retirement benefits as made available to other TMH employees;

> a new automobile every three years, including adjustment for any tax

impact of provision of the automobile;

> a disability insurance policy at 60% of base pay;
> free medical exam per year;
> dues to professional organizations, societies, service organizations and

 

* Tt later became clear that legislation had made such “discriminatory” plans ineligible for tax-deferred
treatment. Nevertheless, Mr. Moore’s arrangement, which TMH picked up from his prior employer, was
treated, for purposes of administering the 1988 Agreement, as though it did fit with IRS requirements
during the entire period of Mr. Moore’s employment by TMH.

3

000006

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 7 of 50

clubs as may be approved by the Chairman of the Board of Directors;

> vacation and sick leave time in accordance with TMH personnel policies
for each year of employment;
> additional time to attend professional meetings, attend to outside

professional duties as may be initially agreed by the Chairman, such time
to be fully compensated service time;

> reimbursement for all expenses incident to the attendance at such
meetings.

The 1988 Employment Agreement further provides that, in the event of termination
without cause, TMH is to pay one year’s salary and, if subsequent to the first year’s
employment, a year’s salary plus an additional month’s salary for each year of
accumulated employment. The 1988 Employment Agreement contained a one-year non-
compete provision. Mr. Moore’s performance was to be annually reviewed by the Board
of Directors.

From his initial employment in 1988 to the comprehensive revision of his employment
contract in 1998 (described below), Duncan Moore’s compensation was periodically
reviewed and increased (see Attachment No. 5). As set forth above, there is no record
of Board or Executive Committee approval of such changes. Some Board chairmen
advise that oral reports were made to the Executive Committee most often without any,
or with little, dollar information being given to the Executive Committee.

1998 Compensation Reviews, Actions and Documents: The relevant 1998 activity
actually commenced in late 1997 with a contact between Duncan Moore and Paul M.
Flood, CEO of Chattahoochee Health Resources, Inc. (“CHR”). CHR is a healthcare
consulting organization founded and chaired by Paul M. Flood, engaging in various
forms of healthcare consulting, including executive compensation. Mr. Flood and his
firm have extensive experience in providing consulting services to hospitals and
healthcare associations, principally in Georgia, but also including Florida, Alabama and
Mississippi. The circumstances surrounding the 1998 Compensation Committee and the
interaction of consultant, Paul M. Flood, are reported in some detail since that committee
initially approved a SERP benefit for four senior executives at TMH. It is that SERP
benefit, impacted by subsequent TMH actions, which is the core of the benefit claim.
Mr. Flood was interviewed by Ed Moore and Roberta Watson, and the representations as
to his statements are taken from that interview. The referenced documentation was
provided by him or was otherwise taken from TMH files.

Mr. Flood had a previous relationship with Duncan Moore’s predecessor CEO, M. T.
Mustian. Mr. Flood also knew Duncan Moore while Mr. Moore was CEO of Phoebe
Putney Hospital in Albany, Georgia. In late 1997 or early 1998, Duncan Moore called

4

000007

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 8 of 50

Mr. Flood, advising that he, Duncan Moore, was redoing his employment contract and
was particularly interested in retirement compensation issues. Mr. Flood advises that his
first contact with Duncan Moore on this issue was probably in late 1997, with a
subsequent first meeting with Duncan Moore only, followed by some additional phone
conversations, and thereafter an introduction to the 1998 Compensation Committee. The
then Board officers in spring of 1998, Dr. John Lewis, Chairman, Dr. Tom Lawhorn, Mr.
Brent Pichard and Mr. Chuck Mitchell, were constituted by Chairman Lewis as a
Compensation Committee of the Board, (Reference to “Compensation Committee” is to
this 1998 Committee.) (Note: Duncan Moore’s 1998 Employment Agreement provides
that the Executive Committee of the Board, then consisting of the Board officers only,
was to review and make compensation decisions relating to Duncan Moore. In 1998, the
Executive Committee included individuals other than the Board officers.) Ed Moore and
Roberta Watson also interviewed all members of the 1998 Compensation Committee and
relevant information from those interviews is referenced herein.

Mr. Flood asserts that in his consulting relationships he represents the Board of Directors
and not the CEO or any subset of executives. According to Mr. Flood’s recollection,
supported by that of the Compensation Committee members, Duncan Moore was not
present during the substantive discussions between Flood and the Compensation
Committee members.

Mr. Flood’s advice, in response to Duncan Moore’s initial inquiry, was that an overall
retirement plan should be developed for Duncan Moore and included in his employment
contract. Mr. Flood further suggested that goals and objectives should be established,
along with some incentive compensation based upon achievement of those goals.
However, Duncan Moore, according to Mr. Flood, advised that he did not want any of his
compensation to be put “at risk” since he was already receiving generous compensation
and there was no reason (in his mind) to jeopardize that with an incentive requirement.
There is no indication that the Committee pursued the possibility of an incentive
arrangement that would have put Mr. Moore’s compensation at risk based on
performance goals.

Attached as Attachment No. 6 is a letter dated September 11, 2003 from Mr. Flood to
Mark O’Bryant, CEO, TMH, wherein Mr. Flood transmits copies of what he determines
to be relevant documents in his file along with a cover letter containing a brief
commentary with respect to those documents. The documents are copied in color so that
Mr. Flood’s notes made in red may be distinguished from his other notes. Mr. Flood
advised that the red notes were made as reminders to himself of matters to be emphasized
during the meeting or, in some cases, to note items approved by the Committee.

000008

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 9 of 50

While there is a great deal of information contained in these documents, as well as the
additional documents referenced below, it is important to focus attention on the two
issues at the core of this matter: 1) Is the approved retirement plan a shortfall plan
containing a setoff for pension plan and social security benefits? And, 2) What is the
appropriate definition of compensation to be used in calculating the retirement benefit
target?

Before proceeding further, a brief discussion of SERPs may be useful. Since most
qualified retirement or pension plans have a compensation cap for the purpose of
calculating retirement benefits, the more highly paid senior executives, absent some other
provision, would not achieve retirement benefits commensurate with the level of their
compensation. Various forms of supplemental executive retirement plans have been
devised over the years. One of the more typical approaches, as has been used. in this
circumstance, is to establish a target benefit, calculate the retirement benefits already in
place, and then provide a supplement to those existing retirement benefits which, when
added to the existing benefits, will cause the executive to reach the target retirement
benefit. If a qualified pension plan plus social security provides non-executive
employees with a retirement benefit equal to 65% (for example) of average
compensation, then the objective of the SERP may be to bring the highly compensated
senior executives to that level. Generally, it is perceived that such plans are equitable and
address the compensation caps found in qualified retirement plans (most all SERPs are
non-qualified plans with the associated IRS implications), An additional justification for
such plans is they are thought to provide an incentive for the executive to remain
employed until the target retirement date, at which time the supplemental benefit
becomes fully vested and available to him. Typically, such plans include a vesting
schedule with some, and according to Mr. Flood most, plans giving credit in the vesting
calculation to prior employment service. In this case, Duncan Moore had 10 years of
service at the time the Committee approved the benefit. According to the vesting
schedule, he was awarded a 50% target at that time, with the target increasing to 65%
after 15 years of service. :

Mr. Flood .recommended a plan with the following features:

1) target benefit after ten years of service, equal to 50% of the average
“compensation” for the five highest years;

2) after fifteen years of service, the target benefit increases to 65% of the
average compensation for the five highest years;

3) the actual benefit is a supplemental payment which would allow the
executive to achieve the described percentage when added to existing retirement benefits

6

000009

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 10 of 50

(Social Security and TMH’s qualified pension plan). In other words, the target benefit,
say 65%, is to be offset by the amount of the pension plan benefit and social security
payments, resulting in a supplemental or “shortfall” payment of the difference.

As stated above, the two principal issues for this Committee are: 1) Is this a shortfall
plan whereby pension plan and social security benefits are deducted from the target, or is
it a plan promising a benefit equal to the full amount determined by the stated formula?
And, 2) What is the appropriate definition of compensation to be used in calculating the
average on which the target is based?

During his interview, Mr. Flood stated that he never considered, proposed or discussed
with the Compensation Committee any form of benefit other than a shortfall plan; that is,
all of his discussions were premised. upon the reduction of the target benefit by existing
retirement benefits, i.e., pension plan and social security payments. All Committee
members also affirmed, without any reservation, that their discussion and approvals were
of a shortfall plan. As will be later discussed, the 1998 Employment Agreement
(Attachment No. 7), which first incorporates and describes the SERP, does not in its
primary text reference a setoff in the attached Committee minutes; however, the materials
attached to those minutes clearly show that the Committee’s deliberations were based on
a setoff or shortfall plan. The 2000 Employment Agreement (which incorporated the
terms of the SERP directly into the body of the document and does not include the
Committee material as an attachment), makes no reference to the shortfall or setoff;
therefore, it is possible that Mr. Moore is claiming a full benefit with no setoff. (It is not
clear at this point whether Duncan Moore’s claim is asserting a claim for the target
benefit without the setoff.)

The examples prepared by Mr. Flood in his letters to the committee all use base salary as
the compensation upon which the target is calculated. The match provided by TMH of
the portion of Duncan Moore’s salary that he elected to defer, as well as other “benefits”
— country clubs, cars,-insurance, accrued sick leave, and accrued personal jeave time — are
not included in the calculations provided by Mr. Flood. Mr. Flood says that he did not
provide the Committee with calculations based upon anything other than base salary;
however, he does state that he recalls discussing with the Committee other potential
definitions of compensation that could be used for that purpose. He advises that the
notation on his material, “Form 990,” was a reminder to him to discuss with the
Committee the possible inclusion of all forms of compensation in the SERP calculation
base. (For those not familiar with Form 990, it is a comprehensive, annual IRS filing
made by non-profits, which essentially replaces a 1040 or other income tax return.) The
relevance of Form 990 to this issue is that Form 990 requires the disclosure of all
payments to certain key executives. Included in such disclosure on Form 990, with
respect to Duncan Moore, is salary, pension plan benefit, country and service clubs, the

7

000010

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 11 of 50

match of the deferred portion of his compensation, personal automobile, etc. — see
Attachment No. 8. This then draws the second and financially most significant issue
into focus. Is the retirement benefit to be calculated on base salary only? If so, as set
forth in Attachment No. 5, the average salary for the five highest years for Mr. Moore
would be $424,800. If Mr. Moore’s retirement benefit is to be based on all payments “as
reported on Form 990,” the average of his five highest years then becomes $609,966.
While there are alternative positions to be asserted, such as inclusion of benefits but not
the deferred match (since that is itself a form of retirement benefit), these two figures
characterize the difference in the TMH acknowledged benefit based upon salary only and
Mr. Moore’s potential claim based on all payments reported on Form 990. The
retirement benefit formula in each case would be 65% of that average. If the plan is
determined to be a shortfall plan, that target number would be reduced by pension plan
and social security benefits, which total $56,721, resulting in the TMH acknowledged
benefit, as set forth in the Restated Plan, of $219,400. Mr. Moore’s broadest claim is a
retirement benefit of 65% of $609,966, or a benefit of $396,497, with no setoff. If the
setoff is applied to this number, the benefit then becomes $339,777..

As the Committee reviews the 1998 Compensation Committee documents as well as the
subsequent employment agreements and related documents, it is with the objective of
determining the plan benefit provided by TMH. Again, “the Plan,” for this purpose,
includes all relevant facts, circumstances, and the documents taken as a whole.

While Mr. Flood states that he discussed with the 1998 Compensation Committee
members alternative compensation definitions, the Compensation Committee, to a man,
has no recollection of such discussions. Mr. Flood says he is confident that some
discussion took place but that the Committee never expressed any interest in doing
anything other than a plan based on base salary only. The Compensation Committee
members also state that they had no idea until the recent interviews that payments other
than base salary were reported on Form 990. Again, Mr. Flood advises that in
referencing, in his notes, “Form 990,” he did not mean that he was proposing Form 990
as a definition of compensation, but was reminding himself to point out to the Committee
that there were other forms of compensation reported on that form. The Committee
members also advised that they thought a benefit based on base compensation was
generous enough and they would not have considered increasing the benefit to include
additional forms of compensation.

1998 Employment Agreement. Mr. Flood also states that during the time of the 1998
Compensation Committee meetings and deliberations, Duncan Moore was very interested
in securing an expanded definition of compensation for the SERP formula, and that he
continued to have discussions with Mr. Flood about a more expansive definition. Duncan
Moore’s discussions in this regard were apparently confined to Mr. Flood and did not

g

000011

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 12 of 50

include the Compensation Committee members. Again, this may be a point of factual
contention. Mr. Flood advised that even after the Committee approved the SERP benefit
on September 23" (Attachment No. 6), Duncan Moore still was “pushing” to include the
other Form 990 compensation elements. Again, the Committce members state that they
have no recollection of discussing anything other than base salary. Mr. Mitchell
remembers numerous conversations with Mr. Moore in which Mr. Moore expressed
satisfaction, and gratitude, for the benefit calculated using base salary.

Mr. Flood had a phone conversation with Duncan Moore on or after October 15, wherein
Duncan Moore advised that the Board officers had approved changes to his employment
agreement, which included a definition of compensation to include all forms of
compensation reported on Form 990, See letter “G’, Attachment No. 6. The Committee
members say they have no recollection of even discussing anything other than base salary
and are adamant that they would have thought anything else to be excessive. Mr. Flood
seems to recall a conversation with Dr. John Lewis regarding compensation definitions,
but doesn’t have specific recall about such conversation. Dr. Lewis recalls no such
discussion, but also cautions that his recollections are not such that he could deny ever
having such a discussion. There is also reference in the material to an alternative reason
for using the Form 990 language. Some of Duncan Moore’s base salary was allocated to,
and paid by, corporate affiliates of TMH. It is necessary to aggregate Duncan Moore’s
salary from all such entities in order to utilize his total salary in the formula. It is clear
from the materials presented to (and adopted by) the officers as part of the Compensation
Committee action in September of 1998 that Mr. Moore’s base salary from all the entities
was intended to be included in the SERP formula. Information as to salary paid by all
such affiliated entities is included on Form 990.

Included in the Flood documentation, as part of Exhibit G (Attachment No. 6) is a draft
revised employment contract, whicli specifically includes as part of the highlighted
changes the expanded Form 990 definition for retirement compensation. The cover
memorandum from Gail Seals states that significant proposed changes were highlighted
(italicized) for the Committee members. According to Ms. Seals’ meimorandum -
(included in Attachment 9) and her statements, the four Board officers were provided the
package, which included the revised Employment Agreement, so that the Board officers
could address all proposed changes to the contract in a meeting to follow an Executive
Committee meeting on October 14. The cover letter from Duncan Moore to Mr. Flood
transmitting a copy of that document states that the Board officers approved all the
changes with the exception of severance and termination, which were subsequently
addressed by the Committee and incorporated into the final 1998 contract.

Attachment No. 9 is a series of documents from the files of Gail Seals, which provide
some further information regarding the transmittal of the 1998 draft employment contract

9

000012

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 13 of 50

to the Board officers. Ms. Seals advises that she typed the draft contract at Duncan
Moore’s instructions ‘and included the italicized sections at Dr. John Lewis’ suggestion to
highlight the significant changes. (We are not aware of who made the decision as to what
constituted a significant change, but the compensation definition was included as an
italicized significant change.)

We have been unable to locate any documentation referencing the Board officers’ actions
with respect to the 1998 employment contract other than the included materials. Dr.
Lewis acknowledges that he executed the final 1998 employment contract (Attachment
No. 7). His recollection is that the final document was brought to his office by Duncan
Moore. The witnesses to the contract are Dr. Lewis’ employees.

While Ms. Seals’. material, her recollections, Duncan Moore’s cover letter to Paul Flood
of October 15, and Mr. Flood’s recollection of the subsequent phone conversation, all
support the premise that the Board officers reviewed and approved the draft 1998
Employment Agreement, the Board officers have no independent recollection of such a
meeting and action nor are there any Board minutes or Executive Committee minutes
referencing any such action. Also, there is no indication that the Board officers were
made aware at any time, by Mr. Flood, Duncan Moore or otherwise, of the financial
significance to TMH of the definition change as related to the calculation of retirement
benefits.

Minutes of Compensation Committee meeting held on October 21, 1998 (Attachment
No. 10) reflect that the Committee had further correspondence and discussion with Mr.
Flood concerning the severance and termination provisions. The Committee, at that
meeting, authorized amendment of Mr. Moore’s employment contract to: 1) establish the
severance period at 36 months, and 2) redefined termination for cause as set forth and
edited in Mr. Flood’s letter of October 19.. The Committee further approved a motion
that any “termination for cause” would be narrowly construed and that the employment
contract amendment was to protect him financially from cavalier termination by the
Board.

The 1998 Agreement contained a provision similar to the 1988 Employment Agreement
regarding the establishment of Moore’s compensation: “. .. shall pay to Moore an
amount mutually agreed upon at an annual review of his compensation by the Executive
Committee or Compensation Committee of the Board.” With the exception of the
provision relating to retirement benefits, the recitation of benefits in the 1998
Employment Agreement is substantially the same as in the 1988 Employment
Agreement.

10

000013
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 14 of 50

After the significant 1998 actions of the Compensation Committee and the execution of
the revised 1998 Employment Agreement incorporating the SERP obligation, there were
no official references in committee minutes, no notification to auditors and no financial
statement provisions made with respect to such obligations. Five annual audit periods
elapsed before the auditors were advised in late 2003, after Duncan Moore’s retirement,
of the existence of the SERP obligations, which were calculated at September 30, 2003 to
require a financial statement provision of $5,200,000 for all four participants. Duncan
Moore was CEO at TMH during all but the last few weeks of the entire period prior to the
notification to auditors.

October 2000 Employment Agreement: Mr. Moore’s contract was again revised in
October 2000 — Attachment No. 3. Major provisions include:

Section 2.1, Base Salary, establishes a base salary of $438,000 per annum, with
increases as provided in accordance with the terms of this Employment Agreement. The
compensation provision acknowledges Mr. Moore’s capacity to defer a portion of this
base salary and includes the following: “TMH will continue to match and pay to the
deferred compensation plan an equal amount to that deferred by Employee.”

Section 2.2, Annual Review, provides that Mr. Moore’s base salary will be
reviewed “by the Compensation Committee of the Board of Directors of TMH in good
faith based upon Employee’s performance .. .”

The definition of “Base Compensation” (Section 2.3) is essentially a carryover
from the 1998 Employment Agreement: “the total of: salary and benefits as submitted to
the Internal Revenue Service on Forin 990 for the component or affiliated organizations
of Tallahassee Memorial Healthcare,. Inc., ¢.g., Tallahassee Memorial Healthcare, TMH
Foundation, Southeast Community Health Services, Tallahassee Memorial Health
Ventures, and any other components or affiliates; and, to include other salary and benefits
received by Employee which are below the threshold amounts required for inclusion on
Form 990.” (Italicized language was added.) Bill Giudice, CFO of TMH, recalled being
requested by Duncan Moore to provide some information as to a source document that
would contain all elements of Mr. Moore’s compensation. Mr. Giudice provided to Mr.
Moore a draft provision, which is essentially the change incorporated into the 2000

contract. Mr. Giudice says that he may have had an earlier conversation around the time —

of the 1998 Employment Agreement with Mr. Moore, discussing Form 990 as a
reference, which would include all forms of compensation paid to Mr. Moore.

The automobile provision was modified to provide Mr. Moore a new automobile every
two years plus an option on the part of Mr. Moore to purchase the automobile after the 2-

11

000014

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 15 of 50

year period for $1, with Moore’s compensation to be “grossed up” to cover the income
tax expense associated with the purchase.

The provisions of the SERP, as approved by the 1998 Compensation Committee and
included in the 1998 Employment Agreement, were incorporated into the body of the
2000 Employment Agreement as Section 3.7. The SERP language incorporated into the
2000 Employment Agreement tracked the language of the 1998 Committee minutes and
did not include a reference to a setoff. (Recall that the 1998 reference to setoff was
included in the letters from Paul Flood that were attached to the minutes, but not in the
text of the actual minutes.) The 2000 Employment Agreement was drafted by Ed Moore,
TMH’s General Counsel, based upon information and documents provided by Mr.
Moore, which included the 1998 Employment Agreement with proposed revisions
marked by Mr. Moore.

The termination without cause and resignation for good reason paragraphs were
significantly revised and committed TMH to pay, if Moore’s employment was terminated
without cause, or if he resigns for good reason, his base compensation for three years
following the date of termination or resignation. The definition of “cause’ for the
purpose of termination of employment was modified to include the following condition:
“| shall be narrowly construed in favor of Employee so that Employee is protected
financially from termination as a result of unpopular decisions or actions ‘taken by
Employee in good faith in the discharge of Employee’s duties, which actions were later
determined to be unpopular, ill-advised or politically unacceptable.”

The 2000 Employment Agreement contains, as did all the. predecessor agreements, a
provision for attorney’s fees: ‘‘7.10, Attorney’s Fees. The prevailing party in any
litigation arising out of this agreement shall be entitled to reasonable attomey’s fees and
costs through and including any appeal, from the other party.”

The 2000 Employment Agreement contains a provision committing TMH “to match and
pay to the deferred compensation plan an equal amount to that deferred by Employee.”
The 1998 Employment Agreement provided only that Mr. Moore could set aside such
portion of his salary as “he may designate be set aside as tax deferred income.” The
commitment to match, however, had its genesis in earlier approvals by various Board
Chairmen and/or Compensation Committees. (See attached Attachment No. 11.) There
is no record in Executive Committee or Board of Directors’ minutes regarding the match
of deferred compensation. The amount of the deferred match is a reportable item on IRS
Form 990 filed each year by TMH. The amount of the deferred compensation match paid
by TMH to Mr. Moore’s deferred compensation trust ranged averaged $112,500 for the
highest 5 years. See Attachment No. 5.

12

900015

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 16 of 50

By letter dated October 17, 2000 (Attachment No 12), the then Chairman of the Board,
Chuck Mitchell, expressed to Mr. Moore the Compensation Committee’s review of his
performance. Mr. Moore was congratulated on a number of initiatives as well as his
‘leadership on several critical issues. The Compensation Committee commended Mr.
Moore “on a job well done” and approved an increase of $12,000 per year in salary. The
Committee also “agreed to allow you (Mr. Moore) to take early retirement beginning at
age 62 in the event you are terminated without cause; at the same time you agreed to
extend the age of your retirement from 65 to 67. This reflects our confidence in you and
our desire to see you continue to work at TMH beyond age 65.”

In that same letter, Chairman Mitchell then requested of Mr. Moore “that a complete
copy of your reviews and contracts be kept with each year’s current Chairman of the
Board, and passed along during each year’s Compensation Committee meeting.”

There is no reference in the Board minutes or Executive Committee minutes to any
review and approval of the terms of the 2000 Employment Agreement. Chuck Mitchell,
Chairman of the Board at the time, executed the 2000 Employment Agreement. Mr.
Mitchell also recalls conversations with Duncan Moore regarding Mr. Moore’s retirement
_ benefits. Mr. Mitchell’s recollection is that all such conversations assumed a retirement
benefit calculated by using base salary only and that Mr. Moore felt very generously
rewarded with that benefit.

Agreement Regarding Early Retirement and Termination of Employment. On January 29,
2003, a document styled “Agreement Regarding Early Retirement and Termination of
Employment” (Attachment No. 13) was executed by TMH and Duncan Moore. The
document references Duncan Moore’s desire to take early retirement and notes expiration
of the current term to be October 17, 2008. The agreed upon terms of the 2003
Agreement include termination of Mr. Moore’s employment as of June 23, 2003, a
statement that SERP payments are to begin June 23, 2003, along with severance
payments equal to 35% of base compensation (recall that the SERP payment is 65% of
base compensation), and continued participation during the severance period in health,
medical and life insurance programs and plans. The impact of the retirement agreement
upon compensation was to require the same payments as would have been made under
the 3-year severance provision (assuming the SERP calculation is based on the average of
base salary), that is, 100% of base compensation to be calculated under the Retirement
Agreement as an early SERP payment (65% of base compensation) with the remaining
35% of base compensation being characterized as severance. (It is Ed Moore’s
recollection that the 3-year payments were structured in this fashion to provide further
support for the “early retirement” decision. Since Mr. Moore’s retirement, however,
TMH has taken the position that the net effect of the “severance” provision is the same as
a continuation of the 2000 Employment Agreement provision relating to severance

13

000016

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 17 of 50

(continuation of final base compensation for 3 years), and payments have been made to
and accepted by Mr. Moore on that basis.

The 2003 Retirement Agreement further provides that Moore shall have no claim for
compensation or benefits other than as set forth in the 2000 Employment Agreement as
modified by the Retirement Agreement and in existing retirement/benefit programs to
which Employee is a party. The 2003 Retirement Agreement reconfims TMH’s
obligation to pay benefits as set forth in the 2000 Employment Agreement.

There are subcommittee minutes of the Compensation Committee recommending
approval of the 2003 Retirement Agreement (Attachment No. 14): “It is therefore
recommended that the existing Employment Agreement between Tallahassee Memorial
Healthcare, Inc. and Duncan Moore be modified as set forth in document entitled
‘Agreement Regarding Early Retirement and Termination of Employment.”’ At a
special meeting of the Board of Directors of TMH (Attachment No. 14), the Board
adopted an approving resolution with the relevant portion being “that the Board with
thanks for the 15 years of unquestioned commitment to the hospital and community and
for the many positive accomplishments during Mr. Moore’s 15-year tenure, accept Mr.
Moore’s request for retirement commencing June 23, 2003; and, further, that the existing
Employment Agreement dated October 17, 2000 be amended as recommended by the
Subcommittee and as set forth in Agreement Regarding Early Retirement and
Termination of Employment between Tallahassee Memorial Healthcare, Inc. and Duncan
Moore. After full discussion, the motion to approve the Subcommittee recommendation
and amend the Employment Agreement, as set forth, was approved with one Board
member dissenting. (The dissenting Board member apparently did not agree that Mr.
Moore’s employment should be terminated (based on remarks made by the member at the
meeting). While as outlined above, the Board and its Committee approved the
Retirement Agreement, there is no reference in any Board or Committee material to a
review of the actual amount of the SERP benefit.

Other Relevant Information: During the period from “approval” of the SERP benefit by
the “Compensation Committee” in September 1998 to and through the late summer of
2003, no specific disclosures were made to TMH auditors, TMH bond counsel or, indeed,
the TMH Board of the existence of the SERP commitments. Please note that the SERP
commitments were, however, referenced and described, although perhaps not adequately,
in the 1998 and 2000 Employment Agreements for Mr. Moore and in amendments to
employment agreements for the four senior vice-presidents dated in 2001. (The
amendments for the three senior vice-presidents were executed, on behalf of TMH, by
Mr. Moore as CEO.) None of the Employment Agreements, 1998 and 2000 for Mr.

14

900017

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 18 of 50

Moore and the amendments for the Senior Vice-Presidents, were maintained in files
made available to the auditors.

No financial statement provision was made for the expected expenses associated with the
SERP program until full disclosure of the plan and all of its ramifications were made to
the Board and TMH auditors after Mr. Moore’s and two of the senior vice-presidents’
retirements in 2003. After review of the facts and circumstances surrounding the SERP
commitments, the then Board of Directors made a financial statement provision of
$3,290,000 as of September 30, 2003, to cover all anticipated expenses associated with
SERP commitments to the then four participants.

Carney, Brafford and Giudice SERP

As set forth in the 1998 Compensation Committee material, the Committee, in 1998,
approved a SERP benefit, not only for Duncan Moore, but for three other senior
executives: COO Ed Carney, CFO Bill Giudice and Senior Vice-President Ron Brafford.
No further documentation of the SERP benefits for Mr. Brafford and Mr. Giudice appear
until their respective employment agreements were amended under date of January 17,
2001 (Attachment No. 15). Bill Giudice states that Duncan Moore provided to him a
draft of the amendment, which Mr. Giudice then converted into a final document. The
amendments do not include a reference to setoff, and the definition of compensation
includes “fringe benefits.”

Duncan Moore provided the relevant terms and requested that General Counsel, Ed
Moore, include in Dr. Carney’s revised employment agreement a SERP provision. That
employment agreement (Attachment No. 16) includes a SERP benefit having a setoff
and uses base salary only in calculating the target benefit. Relevant terms of Dr.
Carney’s SERP were provided by Duncan Moore.

When the financial import of these earlier commitments became fully known to the TMH
Board, after retirement of Duncan Moore, Dr. Carney and Ron Brafford, settlement
discussions were initiated in an effort to resolve the potential claim for SERP benefits and
to otherwise address any other outstanding claims. Those discussions were successful
with respect to Dr. Carney, Mr. Giudice and Mr. Brafford, with the three individuals
executing settlement agreements pursuant to which the individuals waived any claims to
a SERP benefit in exchange for other compensation. The other compensation included,
in the case of Dr. Carney and Mr. Brafford, a cash payment and an increase in pension
benefits, and in Mr. Giudice’s case an increase in his pension benefit only. Similar
settlement discussions were had with Duncan Moore’s counsel, but have resulted in no
agreement. The financial costs of the settlements with the three individuals were covered

15

000018

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 19 of 50

by the 2003 financial statement provision and, in some cases, a supplemental one-time
provision.

IRS Issues

In late 2004 and early 2005 in the context of settlement discussions with Mr. Moore’s
counsel, questions were raised regarding the potential characterization of benefits to be
paid under the SERP as an “excess benefit” transaction pursuant to Section 4958, IRC.

In addition, the adoption of the Restated SERP in April 2004 and the 1998 SERP |

approval, raised the issue of income tax reporting consequences.

After consultation with a compensation consultant and tax advisor, the TMH Board
concluded that the payment of any supplemental benefit, other than that contemplated by
the Restated SERP approved February 2004, would be problematic and raise the issue of
a possible “excess benefit.” The Restated SERP providing for a retirement benefit equal
to 65% of base salary, reduced by pension benefit and social security payments, may
enjoy the presumption of reasonableness described in IRS regulations since that plan was
approved by the Board “Compensation Committee” based upon advice of a third party
consultant (Mr. Flood). On August 15, 2005, TMH filed its 2004 Form 990, which
included a disclosure Statement 33 regarding the Restated SERP and attendant
circumstances. Statement 33 reaffirms the disclosures and the amended 2002 and 2003
Form 990’s, discussed below; advises the IRS that as of August 2005 there’s only one
eligible beneficiary; and puts the IRS on notice that Duncan Moore may assert additional
claims, which, if successful, might be classified as an “excess benefit.” The 2002 and
2003 Form 990’s were amended to add disclosures regarding the existence of the
Restated SERP and the annual cost attributed thereto. Note that, in speaking with Ed
Moore and Roberta Watson, Paul Flood indicated that a benefit based on 990
compensation could likely have been defended. However, he never presented back-up
materials to the Committee to support a benefit other than one calculated on base salary.

In addition to the 990 reporting issues, it was also necessary to address the income tax
reporting consequences of the Restated Plan under Section 457, IRC. The initial 2004
W-2 provided to Duncan Moore in early 2004 did not include any amounts to be paid
under the Restated SERP (adopted April 2004). TMH’s tax consultants advised that a
non-profit is required to report the present value of such potential stream of future
payments as current income to the beneficiary when such future payments are no longer
subject to a “reasonable risk of forfeiture” (even though such payment stops at death).
The income tax issue is potentially complicated, in part, because a claim could be made
that taxable income, based on the 50% target formula, should have been reported in 1998
when the benefit was approved. The IRS requires that the present value of that
anticipated income stream for the life expectancy of the beneficiary be included in the

16

000019

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 20 of 50

beneficiary’s current income (the mortality issue affects the present value, but does not
itself constitute a “reasonable risk of forfeiture”). On August 15, 2005, Duncan Moore
was provided an amended W-2 for 2004, which includes, as part of his taxable income,
the present value of all anticipated future payments under the revised SERP. That present
value total is $2,103,161.

Conclusion: The 1998 Board officers, sitting as the Compensation Committee of the
Board, committed TMH to a SERP program which entitled Mr. Moore to additional .
retirement benefits. The Committee took its action in good faith with the understanding
that it was in the best interest of TMH that Mr. Moore be provided an additional
retirement benefit and that such benefit be structured in a fashion that would encourage
him to remain employed by TMH. The question before this Committee is what is the
proper way to calculate such retirement benefit? Is the calculation of the target to be
based on base salary only? Is the calculation to include all additional compensation
elements reported on Form 990? Is the calculation to include some but not all of the
additional elements reported on Form 990? And, after the proper calculation of the target
is resolved, is the target benefit to be offset by existing retirement benefits -- pension plan
and social security?

The relevant portions of Form 990 for the last five years of Mr. Moore’s employment are
attached as Attachment No. 8. An examination of those forms will show that Form 990
includes: a) base salary, b) pension benefits, c) the employer match of deferred
compensation, d) fringe benefits, including car, fuel, insurance, country club, civic clubs
and, more significantly, accrued personal leave time and accrued sick leave (accumulated
over Mr. Moore’s 15 years of employment). With respect to the latter, accrued sick leave
and accrued personal leave time, TMH has long had a policy of paying accrued sick leave
and accrued personal leave time in cash at retirement. In Mr. Moore’s case, those
accruals total $189,738, which, if included in his compensation total for the year 2003,
and thus in the calculation of the average, have a significant impact on the result.’ The
various permutations are included as shown on Attachment Ne. 5.

As expressed at the outset, this Committee’s charge is to determine the appropriate
retirement benefit to be paid to Mr. Moore. In doing so, you must consider what is
believed to be all of the relevant documents, facts and circumstances. Your decision
should not be based upon the financial welfare of TMH, but, rather, should be made in
the exercise of your good faith ERISA obligation to determine the appropriate benefit.

 

> Note that such accumulated leave, when paid to rank-and-file employees in their year of termination, is
included in calculating their pension plan benefit accruals. A similar calculation of pension plan benefits
would be made for executives, but because of the annual compensation cap under qualified pension plans,
does not usually increase the qualified pension benefit of a highly compensated executive such as Mr.

Moore.
17

16032123

000020

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 21 of 50

INDEX
(Revised)

Attachments 1 through 17 are to the
Memorandum to Plan (Benefits Review) Committee of TMH

Referred to on Page No.(s)

 

 

 

Attachment No. Description of Attachment
(Tab)

1 Duncan Moore’s Claim Letter
November 10, 2005

2 TMH Supplemental Executive
Retirement Plan, as amended
and restated effective 10/1/03
(“Restated SERP”)

3 Duncan Moore’s 2000
Employment Agreement

4 Duncan Moore’s Employment
Agreement dated 1/29/88

5 Comprehensive Schedule of Duncan Moore’s
compensation and various possible compu-
tations of the SERP benefit

6 Letter dated 9/11/03 from Mr. Flood
to Mark O’Bryant, wherein Mr.
Flood transmits copies of relevant
decuments frem his file

7 Duncan Moore’s 1998 Employment
Agreement dated October, 1998

8 Form 990 disclosure of Duncan Moore’s
total compensation

9 Series of documents from Gail Seals’ files

10 Minutes of 1998 Compensation Committee

11 Letters approving deferred match

12 Letter dated 10/17/00 from Chuck Mitchell

to Duncan Moore

1,2

4,8, 12, 17

5,9

10
12

13

000021

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 22 of 50

Attachment No.
(Tab)

13

14

15

16

17

Description of Attachment Referred to on_ Page No.(s)

Agreement Regarding Early 13
Retirement and Termination of

Employment dated 1/29/03

between TMH and Duncan Moore

Subcommittee Minutes of the 14
Compensation Committee recom-

mending approval of the 2003

Retirement Agreement, and Minutes

of Special Meeting of Board of Directors

Amendments to Employment 15
Agreements of Ron Brafford and
Bill Giudice

Employment Agreement of Dr. Ed Carney 15
including SERP benefit

SERP Claim Committee Letter dated
May 21, 2006

Additional Attachments — SERP Appeal Committee — Meeting of September 25, 2007

18

19

20

21

22

23

24

Duncan Moore’s Appeal Letter dated
August 7, 2006

Letter dated September 13, 2006 to Paul E. Parrish, Esq. from
Ms. Roberta Casper Watson

Memorandum dated September 21, 2006 from Ed Moore to the SERP
Appeal Committee with attachments

Memorandum dated September 21, 2006 from Kenneth Hart
and Ruth Vafek re Contract Law

IRS Form 990’s — 1999 — 2004
TMH Financial Statements 1999 — 2005

Representation Letters re Annual Audit and Closing
Certificate re Bond Issue

000022

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 23 of 50

Additional Attachments — SERP Appeal Committee — Meeting of March 27, 2007

25

26

27

28

29

30

31

32

33

Written Questions Propounded to Duncan Moore
Duncan Moore’s Response to Written Questions
Affidavit of Paul M. Flood

Affidavit of John R. Lewis

Affidavit of J. Brent Pichard

Affidavit of Thomas I. Lawhorn

Affidavit of Edgar M. Moore

Letter from Chuck Mitchell to Duncan Moore

Affidavit of Chuck Mitchell

Additional Attachments —SERP Appeal Committee — Meeting of April 17, 2007

34

35

36

37

38

39

Affidavit of Gail Seals
Letter from Paul Parrish Responding to Affidavits
Revised Schedule 5 (Various Possible Computations)

Affidavit of William Giudice (provided to Appeal Committee subsequent
to April 17, 2007 meeting)

SERP Appeal Committee Letter dated May 15, 2007
RECORD SUPPLEMENT (Agreed to by the Parties)

Letter (w/attachments) from William Giudice dated May 10, 2004
Letter (w/attachinents) from William Giudice dated June 29, 2006

000023

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 24 of 50

Attachment No. f

Duncan Moore’s Claim Letter
November 10, 2005

000024

 
HollandsKniqht Document 20-2 Filed 10/26/09 Page 25 of 50
on I Tel 813 227 a500 Halland & Knight LLP
Ho lland + Kn . oht Fax B13 229 0134 Tod North Tampa Street, Suile 4100
Tampa, PL 33602-3644)
www. bklaw com

_ Paul E. Parrish
Ba -277- 6457
paulporrish@hiaw.conn

November 10, 2005

CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Plan Administrator
Tallahasses Memorial Healthcare, Inc.
1300 Miccosukee Road

’ Tallahassee, FL 32308-5093

Re: Duncan Moore/Claim far Pension Benefits

Dear Medam or Sir’

Duncan Moore has retained my jew firm, Holland & Knight LLP, to contact you in
repard to his pension benefits that are duc under the Supplemental Executive Retirement
Program ('SERP"). I am the ERISA litigation specialist at Holland & Knight LLP, My specific

_ purpose for writing is to assert and file a formal claim for those benefits pursuant to the
Employee Retirement Income Seourity Act of 1974 ("ERISA"), 29 U,8.C. § 1001, et seq.

1. understand that Mr. Moore aud his representatives have previously engaged in
discussions with Tallahassee Memorial concerning Mr. Moore's pension benefits. According to
what J have been told, the Plan claims that the benefits to which Mr. Moore js entitled are spelled
out in the "Tallahassee Memorial Healthcare, Inc. Supplemental Executive Retirement Plan (as
Amended and Restated effective ag of October 1, 2003)". Neither the law nor facta support that ss.

‘claim.

Instead, the Employment Agreement between Tallahassee Memorial and Mr, Moore
dated October 17, 2000 ("2000 Employment Agreement"), remains the operative Pian. The 2000
Employment Agreement contains no language authorizing the Plan to amend or terminate the
benofits set forth therein. Mr. Moore complied with his obligations under the 2000 Agreement
by, among other things, working until retirement. The "Agreement Regarding Early Retirement
and Termination of Employment ("Termination Apreement") is clear on that point. Further, the
Terminstion Agreement acknowledges that Mr. Moore "is fully vested under the SERP and is
" gntitled ta, and phal! receive, the amount of the benefit set forth in. . , the 2000 Employment
Agreement." {emphasis added] Under such circumstances, Tallahassee Memorial smnot amend
the Plan to provide less compensation than that set out in the 2000 Employment Agreement. Sez,
e.g., In re New Valley Corporation, 89 F.3d 143 (3" Cir. 1996).

Annapolis « Atlanta + Bethasda ' Bosten + Bradenton + Chicago = Forl Lawderdete * Jackecrvilio « Lekelend ' Lor Angeles
Miami « New York > Northern Vieginia © Orlande = Pertiand * Prevdenes > Rancho Sante Fe: Sacraments « St, Potereburg
Sen Anionic « Sen Frenciect + Seattle « Tallahassen > Tampa « Washinglon. 0.0 + West Palm Booch
Bailing * Caracas” © Helelnki® » Mexico Clty ' Tal Aviv? © Tokyo = “Represenvetive Dice

zo0/100 B KY4 GROZL GooA/RZ/LL

000025

 
200/200

Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 26 of 50

. .: 5 Tallahassee Memorial Healthcare, Inc,

November 10, 2005
Page 2

As a result of the foregoing, Mr. Moore is entitled to the benefits set forth in paragraph
3.7 of the 2000 Employment Agreement. We demand payment of said benefits at this time.

In addition, please fumish me with the appropriate Form 990s for the last ten years of Mr,
Moore's employment, along with all documents that would reflect on “other salary and benefits
received by (Mr. Moors] which are below the threshold amounts required for inclusion on the “”
Form 990," In addition, we request all documents that would reflect on both salary and benefits
received by Mr. Moore which are above threshold amounts required for inclusion on Form 990
that were not included on the Form 990. Finally, please provide any and all additional
documentation that reflects on the value of salary or other benefits received by Mr. Moore
pursuent to his employment with Tallahassee Memorial,

Thank you for your attention to this matter. Should you have any questions, ploase fee]

free to contact me,
Very truly yours ip
- Paul E. Parrish

PEP/imf
ce: Mr, Duncan Moore

Steve Grimes, Esq.

Chairman, Board of Directors

Magnolis & Miccosukee Road

Tallahassee, FL 32308
#395))46_vi . ee

000026

Sea

wes GO FL RAN eee

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 27 of 50

Attachment No. 2

TMH Supplemental Executive

Retirement Pian, as amended

and restated effective 10/1/03
(“Restated SERP”)

000027

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 28 of 50

TALLAHASSEE MEMORIAL HEALTHCARE, INC,
SUPPLEMENTAL EXECUTIVE RETIREMENT PLAN

(As Amended and Restated Effective as of October 1, 2003)

000028

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 29 of 50

TALLAHASSEE MEMORIAL HEALTHCARE, INC.
SUPPLEMENTAL EXECUTIVE RETIREMENT PLAN

 

 

 

 

 

 

 

 

 

TABLE OF CONTENTS.

SECTION PAGE
ARTICLE INTRODUCTION ccssscscsssssssssessssscssnssstsveoscnsssessnernnessestenssantaanusneansenressuasseass 1
Section 1.1 PULPOSE ..cessesceccceseeesesnseseseseneenesscatenesestserenecnsnseeneassneassnenaa auseneasanenanarentass l
Section 1.2 Effective Date ......cccccssscscscesssssseseesesessensnnsesensnsnecenssnnsnens eeatecnsenaceesseseaaes 1
Section 1.3 NOtiCes..ccccccecescecescesessecsecsessenccssseeesssrsescranessensesanenerssaeeenea ae eneaeasenanarersesgts 1
Section 1.4 Supplement ........:.cssssesssesesssesesecenseeansesnnenenenenesedenneneanense neenennesencsanananecs 1
ARTICLE I EEFINITIONSG ....ccsccssssssescosccscccsssnsseseecsnacssrnsegaennersnanane auveeseesssasscrssecsesesaes 1
Section 2.1 “Average Monthly Compensation” ......sssseecienene ssdanteseesenenentsesseees 1
Section 2.2 “Base Compensation” .....s.s-sscesssssessessessecestssnsseesetssnseneenessesuassnacsnnvensanes 1
Section 2.3 “Board” ...cccsceseceesssssneernerersesseereeseseeereensenmenanerenssersneseensesesnenenrareneaeats 1
Section 2.4 “COTTITCE” ....cecececceeeneceeceneeneverseneeeescecetenseceaceesseaureeesseeen eaeeeusansesnanenteney 1
Section 2.5 “COMPANY” .....esceeeeeeeesseeneeseeneeeteteees anoushecececedsuecueeeseassavene caseseenanaaesanereesd 1
Section 2.6 “Defined Benefit Plan” .......ccccccesesscccesecesscneonesecnseueursensenean sansesensseenreresetes 2
Section 2.7 “Effective Date” csccccsesscceesseerscessecsseceeecunceneecenauqauuersnsaneessa aanenansneeerntsa nese? 2
Section 2.8 Pp plOvee” .acccccccesscesssecerccesseeeesesacessceceeesnaesarsesssanesesesae a enanensaeserseneonsees 2
Section 2.9 “Ror CAaUSe™ ..ccccceccocescasseeeseeeetanscnececeesensseasencecanenerereessacceeae menneneuasesaeppesens 2
Section2.10 “Monthly Offset AMOUMt”.......scesseeeetteeenetneeseesees denevencueetensaeusnssaeesees 2
Section 2.11 “Normal Retirement Date”... sesseseeereeesenreceeeeresentnsee snneneneneneneanenenes 2
Section 2.12 “Original Effective Date”... .sceccsccsessnercssesseescuscensansnens nenceennenseenarnecies 2.
Section 2.13 “Participant” ...........csesssseeeseerssnerseenetensnen tees sa peneeesdeceeceeeesaeanasansseieenenees 2
Section 2.14 “Plan ce cccccccecccsecccuseeseeesecsonteceeeeanesnuseeceeeeeccecesersssseeuuevareea eesesaeagauaniensarens 2
Section 2.15 “Plan Year”. .cccccccsscsssecceseeeeeosstsssscnseseeseeseenneeseneasenaneareranea ceveeeseenrersesanses 2
Section 2.16 “Subsidiary” or “Subsidiaries” ............:cccsecsseceeeeceseeseseenens eeeenseneeessnenarenes 2
Section 2.17 “Surviving Spouse” ........ccccsscsesseseessneseeeessnenteeseeeeeeaaeeeee caenenensneaeneenees 3
Section 2.18 “Years of Vesting Service” oo... ccceceseeeesesseeeeeereeeere senses cnssaeeneecsasneneenes 3
ARTICLE II ELIGIBILITY AND PARTICIPATION .........ccsecsscsssensessnen ensenstenstentesssesee 3
ARTICLE TV SUPPLEMENTAL BENEF] TS vecesccecssscsenssssnnenectsseeresscacessennacsensseserescensesnes 3
Section 4.1 Retirement Benesfit .........ccceccceseecceccssseseeseececceccseseesreseceeceeed dave vena nnasneaeeanes 3
Section 4.2 Normal Retiremenit.......cccccccccssccssscscssesgeseececeseesceeeeseseneaeeean cnneersescranenessene® 3
Section 4.3 Deferred Retirernent,........cccccccsccscssserescecsesscccseseecesseneneneeeee neeetresserssseresnees 3
Section 4.4 Barly Retirement ........cccccccccessssseeseecsceeeesrensensseasesssnaeeeeseae caeesseseenssensnerees 3
Section 4.5 Death ...cccccccccccsecececescesecceseuecuseceueunaecancensegegescccceeeseteeeeeeetee eeneseeeeneennneesiess 4
Section4.6 Actuarial Equivalents and ASSUMMDPHIOMNS .........:ceee cent seeee ceeeeenecenneeeeaee 4
Section 4.7 Special Rules Upon Involuntary Termination ......0.......ccc. 2 cece ee eeeeeeenenees 4

000029

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 30 of 50

 

 

ARTICLE V DISTRIBUTIONS... ....cccccsscsorssseescssccnscsessecssenccsensonsneneneee eveveneasearnad aessaceveees 40
Section 4.1 Time of Payment of Benefits ........c:ceecsseceseecsseesereeseereeesecsee eaueeneseeseacsseanens 4
Section 5.2 Manner of Payment of Benefits... se daeecaesanepenee cuseueseesenenenneane! 4

ARTICLE VE FUNDING ccssssssssneesessssssssstneeennseensnsneqnnareesnssteunseennnarensnesannnreennnrenetny 5

RTICLE VIL PLAN ADMINISTRATION. .scssssssssessossssosscsescssssssessomenssensescusenerssnensssansens 5
Section 7.1 Administration by the Committee ..scsscsssssseeeeseenssenesscssesssnsnenseesesees 5
Section 7.2 Powers and Responsibilities of the COMMITEE. 2... ccccecccceeee cues cess aennsreeeeees 5
Section 7.3 La DELitiCS ...cccccccccscccscesecceevencececeeeeecesnceeseesenesenneaeessnesssanensn eenaysaesenaenes om 6
Section 7.4 Claims Procedure ....ccccccccsscseceeressssesseceeensaeeersseanesensenesneresse aeseesesscaaanansoness 6

Section 7.5 | Income and Employment Tax Withholding .......... ssvasenseesee nosesenneneansansenny 7

ARTICLE VIL AMENDMENT AND TERMINATION OF THE PLAN... -nsssrsssssscerseseees 7

 

. Section 8.1 Amendment of the Plan.....ccccscesseceeeseneseesscesesasserareaeennennere ananreesssseasanenes 7
Section 8.2 Termination of the Plan.......ccsesceceeesesseeeseeetenenerecssnensenees saeeesecatanneas nents 7
RTICLE JX MISCELLANEOUS ...cceccessnessessosscscccssssessuseresesssesesessnnanpeatnnesassecnseseeasunnsaens 7.
Section 9.1 Goverming LAW ......ssssesssceeeeresseneessessesesaneasererscesanssesnsnenen eanneuanensfansseeenes 7
Section 9.2 Headings and Gender .......seecsssscecsesecnseeneeresseenansnsrasenaaseg aeennesnenssnenenannes 8
Section 9.3 Participant’s Rights: Acquittance ..........:csseceseeseseneesereee seneeeenesanenennsney 8
Section 9.4 Spendthrift Clause........ecsesseesceseeneerseneseens seseeueacnevseuseesenen censesessneuanateaeres 8
Section 9.5 Cowmterparts .....cccccecssesesssenseeseeeennenssnersecstenasensoreativansene eaceneannensssenegness 8
Section 9.6 No Enlargement of Employment Rights .........sssessesssssse cesssssecseeerensenees 8
Section 9.7. Limitations on Liability............ veseesaneneeeasenaceecenersnensaesenevane seanecseeseceseneasens 8
Section 9.8 Incapacity of Participant or Surviving SPOUSE .........-..ssscc eeesseseseeenstnnenens 8
Section 9.9 GUCCESSOLS ..ecescceceseceeecenseceeseeeeseens «caeesesesenauaescaseveeseesecneneeee a aneeseensrssanrensees 8
Section 9.10 Evidence... .esescseceeeeeteeereeeenens seseeceneeensnssnsecesnensnseaeene genanpenenersenaraets 9
Section 9.11 Action by Company .......sescscsssesnessssceessetescenenerteresneeaenaeee ea reenuenssnsenene cans 9
Section 9.12 Severability .......ccccccccecceesecsetessssenseserenerseeepecsenanaceeneuaaeanaeae ea pegesseseaecnernenes 9

000030

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 31 of 50

- ARTICLEI
INTRODUCTI

Section 1.1 Purpose. The purpose of this Plan is to provide supplement retirement
benefits for a select group of management or highly compensated Employees of the Company
should other retirement benefits fall below a certain level. It is the intention of the Company that
the Plan will constitute an unfunded arrangement maintained for the purpose of providing
deferred compensation for a select group of management or highly compensated employees for
federal income tax purposes and for purposes of Title I of the Employee Retirement Income
Security Act of 1974, as amended. Consequently, it will be administered and its provisions

interpreted consistently with that intention.

Section 1.2 _ Effective Date. The Plan was originally established by the Company
effective October 1, 1998. The Plan is being amended and restated effective as of October 1, ~

2003.

Section 1.3 Notices. Any notice or document required to be given or filed with the
Company or Committee will be properly given or filed if delivered or mailed, postage paid, to
‘Tallahassee Memorial HealthCare, Inc., 1300 Miccosukee Road, Tallahassee, Florida 32308-

5093.

Section 1.4 Supplements. The provisions of the Plan may be modified by supplements
to the Plan. The terms and provisions of each supplement are a part of the Plan and supersede
any other provisions of the Plan to the extent necessary to eliminate any inconsistencies between

the supplement and any other Plan provisions.

ARTICLE II
DEFINITIONS

Whenever the initial letter of the following words or phrases is capitalized in this Plan
document, those words or phrases will have the meanings stated below unless a different
meaning is plainly required by the context:

Section2.1 “Average Monthly Compensation” means the Participant’ average
monthly Base Compensation over the five consecutive full Plan Years which produce the highest

monthly average.

- Section2.2 “Base Compensation” means, for any Plan Year, the base salary paid to a
Participant by the Company during that Plan Year (including any base salary that, but for a
salary deferral election made under a Section 401(k), 403(b) or 125 plan maintained by the
Company, would have been paid to the Participant by the Company).

Section 2.3. “Board” means the Board of Directors of the Company.
Section 2.4 “Committee” means the Compensation Committee of the Board.

Section2.5 “Company” means Tallahassee Memorial HealthCare, Inc.

000031

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 32 of 50

Section 2.6 “Defined Benefit Plan” means the Pension Plan of Tallahasse Memorial
HealthCare, Inc., as amended from time to time, and any other qualified defined benefit pension
plan maintained by the Company at any time either before or after the Original Effective Date.

Section2.7 “Effective Date” means October 1, 2003.
Section2.8 “Employee” means any individual who is employed by the Company.

Section 2.9 “For Cause” means a termination described in the Participant’s
employment contract with the Company as “for cause,” or, if the Participant’s employment
contract does not define that term, one of the following: (i) the willful and continued failure of a
Participant to perform his required duties as an officer or employee of the Company, (ii) any
action by a Participant which involves willful misfeasance or gross negligence, (iii) the
conviction of the Participant of the commission of any criminal offense which involves
dishonesty or breach of trust, or (iv) any intentional breach by the Participant of a material term,
condition or covenant of any agreement between the Participant and the Company.

Section 2.10 “Monthly Offset Amount” means the monthly payment amount that is
actuarially equivalent to the sum of (i) the benefits provided to the Participant under the Defined
Benefit Plan and (ii) the Social Security benefits provided to the Participant. The benefits
provided to the Participant for purposes of the preceding sentence will be determined as of the
first day of the month following the date the Participant’s employment with the Company has
terminated and projected forward to age 65, if the benefits payable under this Plan commence
prior to the Participant’s Normal Retirement Date.

Section 2.11 “Normal Retirement Date” means the first day of the month coincident
with or next following the day the Participant attains age 65.

Section2.12 “Original Effective Date” means October 1, 1998.

Section 2:13 “Participant” means a salaried executive Employee of the Company who
becomes a Participant pursuant to the provisions of Article ITI of the Plan.

Section 2.14 “Plan” means the deferred compensation plan embodied herein, as
amended from time to time, known as the Tallahassee Memorial HealthCare, Inc. Supplemental
Executive Retirement Plan.

Section 2.15 “Plan Year” means the 12-month period beginning each October | and
ending on the following September 30. .

Section 2.16 “Subsidiary” or “Subsidiaries” means a corporation, partnership or limited
liability company, a majority of the outstanding voting stock, general partnership interests or
membership interest, as the case may be, of which is owned or controlled directly or indirectly,
by the Company or by one or more other Subsidiaries. For the purposes of this definition,
“voting stock” means stock having voting power for the election of directors, or trustees,“as the
case may be, whether at all times or only so long as no senior class of stock has such voting
power by reason of any contingency. .

000032

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 33 of 50

Section 2.17 “Surviving Spouse” means the spouse to whom the Participant was
married on both the day he is credited with ten Years of Vesting Service and the day of his death.

_ Section 2.18 “Years of Vesting Service” means the years of vesting service credited to.
the Participant under the Defined Benefit Plan, beginning with the plan year of the Defined
Benefit Plan that coincides with or ends in the Plan Year the Participant first becomes a
Participant in this Plan. Consequently, service prior to the Original Effective Date will not be
counted under this Plan.

ARTICLE II
ELIGIBILIEY AND PARTICIPATION

A member of a select group of management or highly compensated Employees is eligible
to become a Participant in the Plan provided the Employee is designated as a Participant by the
Board or Committee in writing. A designated Employee will become a Participant as of the later
of the Original Effective Date or the date specified by the Board or Committee. Duncan Moore

_ (referred to as “Moore”), Ronald Brafford, Edward Carney and William Guidice will be
Participants in this Plan beginning on the Original Effective Date. A Participant may be -
removed as an active Participant by the Board or Committee effective as of any date, so that he
will not be entitled to receive benefit accruals under Article IV on or after that date.

ARTICLE IV
UPP AL BENEFIT

Section 4.1 __ Retirement Benefit. The retirement benefit to be provided under this Plan
is a monthly retirement income, commencing on the Participant’s Normal Retirerment Date and
ending at his death. The monthly retirement income amount will equal 50 percent of the
Participant’s Average Monthly Compensation less the Monthly Offset Amount. For Moore, the
percentage under the preceding sentence will be increased from 50 percent to 65 percent.
Further reductions and actuarial adjustments, if any, will be made from this amount.

 

Section 4.2__ Normal Retirement. A Participant whose employment with the Company
terminates on or after his 65th birthday but on or before his Normal Retirement Date will be
entitled to the retirement benefit determined under Section 4,1 commencing on his Normal
Retirement Date.

Section4.3. Deferred Retirement. A Participant whose employment with the Company
terminates after his Normal Retirement Date will be entitled to the retirement benefit determined
under Section 4.1, but commencing on the first day of the month following his termination date.

_ No actuarial adjustment will be made as a result of payments commencing after the Participant’s
Normal Retirement Date.

Section 4.4 Early Retirement. A Participant whose employment with the Company
terminates before his 65th birthday will be entitled to the retirement benefit deterrmined under
Section 4.1 commencing on his Normal Retirement Date (and not his earlier termination date).
However, the benefit will be payable only if the Participant had accrued at least ten Years of
Vesting Service on or prior to his termination date. .

000033

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 34 of 50

Section 4.5 _ Death. If a Participant dies before receiving any payments under this Plan
(regardless of his Years of Vesting Service), then the Participant’s Surviving Spouse will be
entitled to receive a monthly benefit under this Plan which will be equal to 50 percent of the
monthly benefit determined under Section 4.1 that would have been payable to the Participant.
The monthly benefit will be actuarially equivalent to the benefit that would have provided fo the
Participant on his Normal Retirement Date (using his Average Monthly Compensation as of the
date of his death). If the Participant dies after receiving one or more payments of his benefit, a
monthly benefit equal to 50 percent of the benefit he was receiving will be paid to his Surviving
Spouse. No benefit will be paid under this Section until the first day of the month following the
date the Surviving Spouse attains age 60. Upon the earlier of the Surviving Spouse’s death or
marriage to another individual, all benefits will cease.

Section 4.6 Actuarial Equivalents and Assumptions. For purposes of determining

actuarially equivalent benefits under the Plan, a six percent interest rate and the 1983 Group
Annuity Mortality Table (50% Male/50% Female) will be used. For purposes of determining the
Monthly Offset Amount in the event of a pre-Normal Retirement Date payment, six percent
earnings rate will be used to project benefits from termination of employment to age 65, The
Company may establish any other reasonable actuarial procedures and assumptions to determine
the benefit payable to any Participant under this Plan.

Section 4.7 Special Rules Upon Involuntary Termination. In the event the Company

terminates a Participant’s employment, the Participant will become fully vested in his Plan
benefit regardless of his Years of Vesting Service, unless the termination was For Cause.

ARTICLE V
DISTRIBUTIONS

Section 5.1 Time of Payment of Benefits. The benefit payable to a Participant under

Section 4.2, 4.3 or 4.4 will begin to be distributed at the Participant’s Normal Retirement Date
or, if later, as provided in Section 4.3, or within a reasonable period following the applicable
date. The benefit payable to a Surviving Spouse under Section 4.5 will begin to be distributed
upon the later of the first day of the month following the Participant’s death or the first day of the
month coincident with or following the Surviving Spouse’s 60th birthday. If the payments

- commence prior to the Participant’s Normal Retirement Date, they will be reduced to reflect the
early commencement of the payment. The reduction will equal 1/240 for each full calendar
month, up to 120, the commencement precedes the Normal Retirement Date.

Section 5,2 Manner of Payment of Benefits. The benefit payable under Article IV will
be distributed in cash in monthly payments payable on the first day of the calendar month, with
the last payment to be made for the month in which the Participant or Surviving Spouse dies or,
if applicable, in which the Surviving Spouse remarries.

4 - 900034

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 35 of 50

ARTICLE YI
FUNDIN

The Plan at all times will be unfunded and wil! constitute a mere promise by the
Company to make benefit payments in the future. No provision of the Plan will impose or be
deemed to impose any obligation upon the Company, other than an unsecured contractual
obligation to make a cash payment to Participants and their beneficiaries in accordance with the
terms of the Plan. Benefits payable under the Plan will be paid directly by the Company from its
general assets. Notwithstanding any other provision of this Plan, neither a Participant nor his
Surviving Spouse will have any preferred claim on, or any beneficial ownership interest in, any
assets of the Company prior to the time benefits are paid as provided in Article TV. All rights
created under this Plan wil] be mere unsecured contractual rights of the Participant against the

Company.

ARTICLE VII
PLAN ADMI ATION

Section 7.1 - Administration by the Committee. The Committee will be responsible for |
administering the Plan. Except as the Company may otherwise expressly determine, the
Committee will be charged with the full power and the responsibility for administering the Plan

in all its details.
Section 7.2 Powers and Responsibilities of the Committee.

(a) -The Committee will have all powers necessary to administer the Plan,
including the power to construe and interpret the Plan documents; to
decide all questions relating to an individual’s eligibility to participate in
the Plan; to require information from a Participant or Surviving Spouse; to
determine whether a Participant has actually terminated employment; to
determine whether the termination was or was not For Cause; to determine
the amount, manner and timing of any distribution of benefits or
withdrawal under the Plan; to resolve any claim for benefits in accordance
with Section 7.4, and to appoint or employ advisors, including legal
counsel, to render advice with respect to any of the Committee’s
responsibilities under the Plan. Any construction, interpretation, or
application of the Plan by the Committee will be final, conclusive and
binding. Consequently, benefits under this Plan will be paid only if the
Committee decides in its discretion that the applicant is entitled to them.

(b) Records and Reports. The Committee will be responsible for Maintaining
sufficient records to determine each Participant’s eligibility to participate
in the Plan, and the Base Compensation of each Participant for purposes of
determining the amount of benefit to be accrued by or on behalf of the
Participant under the Plan.

5 000035

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 36 of 50

(c)

(qd)

_ Section 7.3

Rules and Decisions. The Committee may adopt such rules as it deems

- necessary, desirable, or appropriate in the administration of the Plan. All

rules and decisions of the Committee will be applied uniformly and
consistently to all Participants in similar circumstances. When making a
determination or calculation, the Committee will be entitled to rely upon

information furnished by a Participant or Surviving Spouse, the Company

or the Jegal counsel of the Company.

Application and Forms for Benefits, The Committee may require a
Participant or Surviving Spouse to complete and file with it an application
for a benefit, and to furnish all pertinent information requested by it. The
Committee may rely upon all such information so furnished to it,
including the Participant’s or Surviving Spouse’s current mailing address.

Liabilities. The Committee will be indemnified and held harmless by the

Company with respect to any actual or alleged breach of responsibilities performed or to be

performed hereunder.
Section 7.4

(a)

(b)

(c)

Claims Procedure.

Filing a Claim. Any Participant or Surviving Spouse may file a written
claim for a Plan benefit with the Committee or with a person named by the
Committee to receive claims under the Plan.

Notice of Denial of Claim. In the event of a denial or limitation of any
benefit or payment due to or requested by any Participant or Surviving
Spouse under the Plan (“claimant”), the claimant will be given a written
notification containing specific reasons for the denial or limitation of his"
benefit. The written notification will contain specific reference to the
pertinent Plan provisions on which the denial or limitation of his benefit is
based. In addition, it will contain a description of any other material or.
information necessary for the claimant to perfect a claim, and an
explanation of why such material or information is necessary. The
notification will further provide appropriate information as to the steps to
be taken if the claimant wishes to submit his claim for review. This
written notification will be given to a claimant within 90 days after receipt
of his claim by the Committee unless special circumstances require an
extension of time for processing the claim. If such an extension of time
for processing is required, written notice of the extension will be furnished
to the claimant prior to the termination of that 90-day period, and such
notice will indicate the special circumstances which make the

postponement appropriate.

 

Right of Review. In the event of a denial or limitation of his benefit, the
claimant or his duly authorized representative will be permitted to review
pertinent documents and to submit to the Committee issues and comments
in writing. In addition, the claimant or his duly authorized representative

A 000036

 
coo,

Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 37 of 50

may make a written request for a full and fair review of his claim and its
denial by the Committee; provided, however, that such written request
must be received by the Committee (or its delegate to receive such
requests) within 60 days after receipt by the claimant of written
notification of the denial or limitation of the claim. The 60-day
requirement may be waived by the Committee in appropriate cases.

(d) Decision on Review. A decision will be rendered by the Committee
within 60 days after the receipt of the request for review, provided that
where special circumstances require an extension of time for processing
the decision, it may be postponed on written notice to the claimant (prior

"to the expiration of the initial 60-day period) for an additional 60 days
after the receipt of such request for review. Any decision by the
Committee will be furnished to the claimant in writing and will set forth
the specific reasons for the decision and the specific Plan provisions on
which the decision is based.

(e) Court Action. No Participant or Surviving Spouse will have the nght to
seek judicial review of a denial of benefits, or to bring any action in any
court to enforce a claim for benefits prior to filing a claim for benefits or
exhausting his rights to review under this Section.

Section 7.5 Income and Employment Tax Withholding. The Company will be
responsible for withholding from the Participant’s compensation or from the distribution of his

(or his Surviving Spouse’s) benefit under the Pian of all applicable federal, state, city and local
taxes.

ARTICLE Vit
AMENDMENT AND TERMINATION OF THE PLAN

Section 8.1___ Amendment of the Plan. The Company may at any time modify, alter or
amend the Plan in whole or in part, but only to the extent agreed to in writing by each Participant
affected by the amendment.

Section 8.2 Termination of the Plan. The Company reserves the right at any time to
terminate the Plan or to reduce or cease benefit accruals at any time, but only to the extent agreed
to in writing by each Participant affected by the termination or reduction.

ARTICLE IX
MISCELLANEOUS

Section 9.1___ Governing Law. The Plan will be construed, regulated and administered
according to the laws of the State of Florida, without reference to that state’s choice of law
principles, except in those areas preempted by the laws of the United States of America in which.

case the federal law will control.

900037

 
Case 4:09-cv-00273-RH-WCS. Document 20-2 Filed 10/26/09 Page 38 of 50

Section 9.2. Headings and Gender. The headings and subheadings in the Plan have
been inserted for convenience of reference only and will not affect the construction of the
provisions hereof. In any necessary construction the masculine will include the feminine and the

singular the plural, and vice versa.

Section 9.3 Participant’s Rights: Acquittance. No Participant will acquire any Tight to
be retained in the Company’s employ by virtue of the Plan, nor, upon his dismissal, or upon his
voluntary termination of employment, wil] he have any right or interest in or to any Plan assets
other than as specifically provided herein. .

Section 9.4  Spendthrift Clause. No benefit or interest available hereunder will be
_ subject in any manner to anticipation, alienation, sale, transfer, assignment, pledge,
encumbrance, attachment or garnishment by creditors of the Participant or the Participant's
designated Surviving Spouse, either voluntarily or involuntarily, except to the Company.

Section 9.5 Counterparts. This Plan may be executed in any number of counterparts,
each of which will constitute but one and the same instrument and may be sufficiently evidenced
by any one counterpart.

Section 9.6 No Enlargement of Employment Rights. Nothing contained in the Plan
will be construed as a contract of employment between the Company and any person, nor will
the Plan be deemed to give any person the right to be retained in the employ of the Company or
limit the right of the Company to employ or discharge any person with or without cause, or to
discipline any Employee.

Section 9.7 Limitations on Liability. Notwithstanding any of the preceding provisions
of the Plan, neither the Company nor the Committee (or any individual acting as an employee or
agent of either of them) will be liable to any Participant, Employee or Surviving Spouse for any
claim, loss, liability or expense incurred in connection with the Plan, except when the same will
have been judicially determined to be due to the gross negligence or willful misconduct of such
person.

Section 9.8 Incapacity of Participant or Surviving Spouse. If any person entitled to .
receive a distribution under the Plan is physically or mentally incapable of personally receiving
and giving a valid receipt for any payment due (unless prior claim therefor will have been made
by a duly qualified guardian or other legal representative), then, unless and until claim therefor
will have been made by a duly appointed guardian or other legal representative of such person,
the Committee may provide for such payment or any part thereof to be made to any other person
or institution then contributing toward or providing for the care and maintenance of such person.
Any such payment will be a payment for the account of such person and a complete discharge of
any liability of the Company and the Plan. .

Section 9.9 Successors. The Plan will inure to the benefit of and be enforceable by the
Participant’s legal representatives. This Plan will also inure to the benefit of and be binding
- upon the Company and its successors and assigns. The Company will require amy successor
(whether direct or indirect, by purchase, merger, consolidation or otherwise) to all or
substantially all of the business and/or assets of the Company to assume expressly and agree to

 

000038

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 39 of 50

perform this Plan in the same manner and to the same extent that the Company would be
required to perform it if no such succession had taken place. As used in this Plan, the term
“Company” will mean any successor which assumes and agrees to perform this Plan by
operation of law, or otherwise. .

Section 9.10 Evidence. Evidence required of anyone under the Plan may be by
certificate, affidavit, document or other information which the person relying thereon considers
pertinent and reliable, and signed, made or presented by the proper party or parties,

 

Section 9.1] Action by Company. Any action required of or permitted by the Company
under the Plan will be by resolution of its Board of Directors or the Committee, or by a person or
persons authorized by resolution of the Board or the Committee.

Section 9.12 Severability. In the event any provisions of the Plan will be held to be
illegal or invalid for any reason, such illegality or invalidity will not affect the remaining parts of
- the Plan, and the Plan will be construed and endorsed as if such illegal or invalid provisions had
never been contained in the Plan.

 

IM-506753_1.DOC

Q | 000039 _

 
oof

Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 40 of 50

ADOPTION
_ OF
TALLAHASSEE MEMORIAL HEALTHCARE, INC.
SUPPLEMENTAL EXECUTIVE RETIREMENT PLAN
(As Amended and Restated Effective as of October 1, 2003)

Pursuant to resolutions adopted by the Board of Directors of Tallahassee Memorial
HealthCare, Inc. (the Company”), the undersigned officers of the Company hereby adopt the
Tallahassee Memorial HealthCare, Inc. Supplemental Executive Retirement Plan (As Amended
and Restated Effective as of October 1, 2003) on behalf of the Company, in the form attached
hereto.

)
. Dated this ay? day of Jory -, 2004.

TALLAHASSEE WEMORIAL CL INC.
. fy ca
XN

eA

 

 

000040

 
oo

this 21* day of April, 2004.

Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 41 of 50

RESOLUTIONS OF THE
BOARD OF DIRECTORS OF
TALLAHASSEE MEMORIAL HEALTHCARE, INC.

WHEREAS, Tallahassee Memorial Healthcare, Inc. (the “Company”) maintains the
Tallahassee Memorial Healthcare, Inc. Supplemental Executive Retirement Plan (the “Plan”), a
“nonqualified” supplemental retirement plan for the benefit of a select group of the Company’s
management or highly compensated employees; and

WHEREAS, the Company’s Board of Directors now deems it desirable to restate the Plan
effective as of October 1, 2003;

NOW, THEREFORE, BEIT RESOLVED that the appropriate officers of the Company
be, and they hereby are, authorized and directed to adopt the restated Plan on behalf of the
Company in substantially the form attached to these resolutions, effective as of October 1, 2003.

FURTHER RESOLVED that the appropriate officers of the Company be, and each
hereby is, authorized, for and on behalf of the Company, to take any action those officers deem
necessary or desirable to carry out the purpose and intent of this and the foregoing resolution.

* * *

I, Michael M. Fields, Secretary of Tallahassee Memorial Healthcare, Inc., hereby certify _
that the foregoing is a correct copy of resolutions duly adopted by the Board of Directors of that
corporation on April 21, 2004, and that the resolutio have not been changed or repealed as of

 

 

Michael
Sebretary, Tallahassee Memorial Healthcare, Inc.

IM-532013_1.DOC

000041

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 42 of 50

Attachment No. 3

Duncan Moore’s 2000
Employment Agreement

000042

 
Case 4:09-cv-00273-RH-WCS ' Document 20-2 Filed 10/26/09 Page 43 of 50

May-01-206 02:23pm = From=TMH FINANCE DEPT ; 50 431 6498 f-1a3P.002/010 « F=554

ae ot

existing under the laws of the state o

MPLOYMENT AGREEMENT

EMPLOYMENT AGREEMENT (the “A preement”), dated as of the [2! day of October,

2000, between TALLAHASSEE MEMORIAL HEALTHCARE, INC., 4 Corporation Not For Profit
f Florida (“TMH”), and DUNCAN MOORE (the “Employee’),

“WHEREAS, TMH desires to.employ Employes and to assure itself of the continued services
of Employee for the term of employment provided for in this Agreement, and the Employee desires
to be employed by TMH for such périod upon the terms and conditions hereinafter set forth;

NOW, THEREFORE, in consideration of the covenants and agreements hereinafter set forth,
the parties hereto agree as follows: ‘

\. | EMPLOYMENT AND DUTIES

1.1 General. TMH hereby employs Employee, and. Employee agrees io serve as
President and Chief Executive Officer of TMH upon the terms and conditions herein contained, In
such capacities, Employee aprees ta serve TMH faithfully and to the best of his ability under the
direction of the Board of Directors of TMH. Employce also agrees to serve, if elected, at no
additjonal compensation to that provided in this Agreement, as an officer or director of any

subsidiary or affiliate of TMH.

12 Term of Employment. Employee’s employment under this Agreement shall
commence on October 17, 2000 (the “Effective Date”), and shall terminate on the earlier of (1) the
eighth (8th) anniversary of the Effective Date, or (ii) termination of Employee’s employment
pursuant to this Agreement (the period commencing on the Effective Date and ending on the ei ghth
anniversary thereof, hereinafter referred to as the “Employment Term”)>

1.3 Duties. For the Employment Term, Employee agrees to render full-time service to
TMH as President and Chief Executive Officer and + connection therewith perform such duties not
inconsistent with Employee's position, as Employee may reasonably be directed to perform by the
the Board of Directors of TMH. Such duties and responsibilities shall specifically include, but not
be limited to:

> supervision of all activities and related services and programs of TMH;

> supervision of personnel employed by, or assaciated with, TMH, its subsidiaries and
- affiliates;

> attendance at meetings af the TMH Board of Directors and such committee affiliates

thereof as may be appropriate;

000043

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 44 of 50

Way-01-2008 02:23pm — From=THH FINANCE DEPT B50 431 6408 1-133 P.009/019  F-BEd
> preparation of reports conceming operation of TMH, its subsidiaries and affiliates;
a and,

ee

> such other duties as may be assigned or delegated to Employee by the Board of
Directors of TMH.

For purposes of this Agreement, “fyil-time service” means the rendering of employment
services pursuant to the tems of this Agreement each day during regular hours of business, exclusive
of vacation, paid sick leave, paid holidays or authorized leave of absences.

2. Compensation.

4.1 . Base Salary. From the Effective Date, Employee shall be entitled to receive a base
salary (“Base Salary”) at the rate of $438,000 per annum, payable in arrears, in equal installments
not less frequently than monthly in accordance with TMH’s payroll practices, with such increases
as may be provided in accordance with the tems hereof, Once increased, such higher amount shall
constitute the Employee’s annual Base Salary, Employee may elect to set aside a portion ofhis Base
Salary as tax deferred income, subject to the requirements of the Internal Revenue Service for
501(¢)(3) organizations. TMH will continue to match and pay to the deferred compensation plan

an equal amount to that deferred by Employee.

22 Annual Review. Employce’s Base Salary shall be reviewed by the Compensation
Committee of the Board of Directors of TMH in good faith based upon Employee's performance,
not less than annually, and such Base Salery may be increased (but not decreased upon such review
during the remainder of the Employment Term).

2.3. Base Compensation. “Base Compensation,” as used herein, shall mean the total of;
salary éndbenefits as submitted to the Internal Revenue Service on Form 990 for the component or
affiliated organizations of Tallahassee Memorial Healthcare, Inc., ¢g., Tallahassee Memorial
Healthcare, TMH Foundation, Southeast Community Health Services, Tallahassee Memorial Health
Ventures, and any other components or affiliates; and, 2) other salary and benefits received by
Employee which are below the threshold amounts required for inclusion on Form 990.

3. EMPLOYEE BENEFITS.

3.1 General. Employee shall be included, to the extent eligible by virtue ofhis position,

tenure, salary, age and other qualifications, in all employee benefit plans, programs or arrangements

(including, without limitation, the standard TMH health and malpractice insurance programs and
standard TMH pension plan) which shall be established by TMH for or made available to its
employees.

4.2 Liability Insurance. TMH shall insure Employes under its general and directors and
officers" liability insurance policies for acts done in good faith during the Employment Term.

a

000044

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 45 of 50

May-01~2008 02:23pm = FromeFHH FIKANCE DEPT 850 431 6488 T1930 P.004/018 = F554

3.3 Automobile. TMH shall provide to Employee a new automobile every two (2) years.
When the automobile reaches two years of age, Employee may purchase same for $1 and TMH wilt
gross up Employee's compensation to cover the income tax expense, if any, associated with such

purchase.

3.4. Medical Exam. TMH shall provide one free anual medical examination each year

for Employee.

3.5 Reimbursement of Expenses and Dues. TMH will reimburse Employee for ~
reasonable travel and other business expense incurred by him in the fulfillment of his duties
hereunder. In addition, TMH shall pay or reiinburse Employee for: dues of clubs, organizations and
professional and service associations as approved, from time to time, by the Chairman of the Board

of Directors.

3.6 Vacation and Leave Time. Employee shall be entitled to eamed time off (ETO) in
accordance with TMH’s personnel policies for each year of employment. In addition, Employes will
be permitted to be absent during working days to attend professional meetings in the United States
and to attend to such outside professional duties in the hospital field which have been approved by
the Chairman of the Board of Directors or the Executive Committee of the Board of Directors,
Attendance at such approved meetings and accomplishment of such approved professional duties
shall be fully compensated service time and shall not be considered ETO.

3.7. Supplemental Executive Retirement Program (SERP), TMH has established a
Supplemental Executive Retirement Program designed to supplement the retirement benefits of
certain key executives. This program is considered a non-qualified benefit plan for the purposes of
the Employee Retirement Security Act of 1974 (ERISA). TMH, therefore, agrees to pay the |
following retirement benefits to Employee upon: a) the expiration of the Employment Term; or
b) Employee’s termination Without Cause; or c) Employee’s resignation with good reason.

Employee’s entitlement to and the arnount of the retirement benefit, as well as additional
terms and conditions relating thereto, are as follows:

a) Vesting. Employee will be fully vested after ten (10) years of service.

. (Employee's service commencd on January 29, 1988. The Severance Period,

as herein defined, shall be included in the calculation of “service” time in
determining whether or not Employee is vested.)

b) Atmount of Benefit.

(1) After'ten (10) years of service, Employee shall be paid an annual
_ benefit (payable monthly) equal to 50% of the average of the highest
five (5) years of Employee’s Base Compensation;

3

990045

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 46 of 50
Way-O1-2008 O2:24on —Fron>ThH FIHANCE DEPT g60 431 6408 T1383 P.0O8/018 F564

(2) After fifteen (15) years of service, Employee shall be paid an annual
benefit (payable monthly) equal to 65% of the average of the highest

~ five (5) years of Employee’s Base Compensation. (For Service
periods of more than ten (10) but less than fifteen (15) years, the
benefit amount shall be prorated at 3% per yeat, i.¢., twelve years of
service equals 56%.)

(3) The SERP benefit payments shall be paid to Employee for his
lifetime and, upon the death of Employee, shall be paid to his”
surviving spouse at arate equal to 50% of that paid to Employee, for
her lifetime; provided, however, that such payments to the surviving

‘ spouse shal) terminate upon her remarriage after the death of
Employee.
(4) Benefit payments under the SERP shall commence upon the later of
_ Bmployce’s 65th birthday, Employee’s termination of service, or the
expiration of the Severance Period: provided, however, in the event
of termination Without Cause or Employee's death, SERP benefit
payments shall commence on such event (termination or death), or
Employee's 62nd birthday, whichever is later.

4, TERMINATION OF EMPLOYMENT.

4.1 Termination Without Cause; Resignation for Good Reason.

4.1.1 General. Subject to the provisions of sections 4.1.2 and 4.1.3, if, prior to the
expiration of Employment Tem, Employee’s employment is terminated by TMH without cause, as
defined in section 4.3, or if Employee resigns from his employment hereunder for ood reason, as
defined in section 4.4, TMH shall continue to pay Employee his Base Compensation as of the dato
of termination or resignation for the lesser oft (i) three years following the date of termination or
resignation: or, (ii) the remainder of Employment Term. (Such period, as applicable, is referred to
hereinafter as the “Severance Period.”) During the Severance Period, Employee sirali also be eli gible
to participate on the same terms and conditions as in effect immediately prior to such termination
or resignation, in all health, medical, supplemental medical and life insurance plans or programs
provided to Employee by TMH pursuant to section 3 above at the time of such termination or
resignation. If, during the Severance Period, Employee is precluded from participating in any of
such plans by the terms of such plan or applicable law, TMH shall provide Employee with benefits
that are reasonably equivalent in the aggregate to thosc which Employee would have received under
such plan or plans had he been eligible to participate therein. Subsequent to the expiration of the
Severance Period, Employee may purchase health insurance at the standard TMH rate until such time
as Employec and Employee's spouse reach age 65. (As elsewhere provided herein, the Severance
Period shall be included in the calculation of Employee's years of service under the SERP.)

4

000046

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 47 of 50

May-01-2006 02:24pm —From-THH FIKANCE DEPT B60 431 6408 1-133 P.006/019 F864

41.2 Conditions Applicable to the Severance Period. If, during the Severance Period,
Employee materially breaches his obligations under section 7 of this Agreement, TMH may, upon
written notice to Employee, terminate the Severance Period and cease to make any further payments

or provide any further benefits as described in section 4.1.1.

4.1.3 Death During Severance Period. In the event of Employee's death during the
Severance Period, TMH shal! continue to make all payments (otherwise payable to Employee) for
the remainder of the Severance Period to the beneficiary designated by Employce. Unless otherwise
designated in writing by Employee, such beneficiary shall be the surviving spouse of Employee.

“4.1.4 Date of Termination, The date of termination of employment Without Cause shall
be the date specified in a wnitten notice of termination to Employee. The date of resignation for
Good Reason shall be the date specified in the written notice of resignation from the Employee to

TMH.
4.2 Termination for Cause; Resignation Without Goad Reason. —

4.2.1 General. If, prior to the expiration of the Employment Term, Employee's
employment is terminated byTMH for “Cause,"as herein defined, or if Employee resigns frorn his
employment hereunder other than for “Good Reason,” as herein defined, Employee shall be entitled
only to payment of his Base Salary carned through and including the date of termination or
resignation, Employee shall have no further right to receive any compensation or to participate in
any other plan, arrangement or benefit after such termination or resignation of employment.

4.2.2 Date of Termination, The date of termination for Cause shall be the date of receipt
by Employee ofa written notice of termination provided for in section 4.2.3. The date of resignation
without Good Reason shall be the date specified in the writen notice of resignation fom Employee
to TMH, or ifno date is specified therein, ten (10) business days after receipt by TMH of written
notice of resignation from Employee.

4.2.3 Notice of Termination. Termination of Employee’s employment for Cause shall be
communicated by delivery to Employee of a written notice from TMH, stating that, in the good faith
opinion of TMH, an event constituting for Cause termination in accordance with section 4.3 has
occurred and specifying the particulars thereof (a “Notice of Termination”). For purposes of this
Agreement, no purported termination of Employee’s employment for Cause shall be effective
without delivery of such notice of termination, At Employee's request, Employee shall be entitled
to appear before the Board of Directors of TMH, and if he so chooses, request that the Board
reconsider its determination.

4.3 Cause. Termination for “Cause” shall mean termination of Employee’s employment
because of Employee’s: (i) conviction of, or guilty pleas fo, a felony or a crime involving moral
turpitude, (ii) gross or flagrant inattention to, or execution of, duties continuing for more than sixty
(60) days after the Board of Directors provides written notice to Eraployee that he is subject to

5

000047

 
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 48 of 50
May-O1-2006 02:24pm From-TMH FINANCE DEPT 850 481 6496 T1383 P.O07/018 F564

termination for Cause based upon continuation of the activities as described in the notice; or (tii)
material breach of any provision of the Agreement. The determination of “Cause,” for the purpose
of this section, shall be narrowly construed in favor of Enrployee so that Eraployee is protected
‘financially from termination as 4 result of unpopular decjsioris or actions taken by Employee in good
faith in the discharge of Employee’s duties, which actions were later determined to be unpopular,
ill-advised or politically unacceptable, Any determination to terminate Employae’s employment for
Cause shall be effective only when taken by 4 majority vote of all members of the Board of

Directors.

44 Good Reason. For the purpose of this Apreement, “Good Reason” shall mean
termination of employment by Employee for veason of TMH’s material breach of any provision of
the Agreement, or a change of control of TMH through merger, acquisition or other alliance, or the
transfer of substantially all of the assets of TMH to another entity not wholly-owned or controlled
-by TMH, or a significant change ‘o the nature and scope of Employec’s duties from those applicable
immediately prior to the date on which a change of control occurs. oe

5. DEATH OR PERMANENT DISABILITY.

51 Death. If Employee's employment hereunder is terminated by death prior to
Employee’s 65th birthday, TMH shall continue to pay Employee’s spouse, or other’ designated
beneficiary if there is no surviving spouse, an amount equal to the Base Salary in effect as of the date
of death for the Jesser of: the remainder of the Employment Term, or Emplo yee’s 62nd birthday.

5.2 Permanent Disability. In the event Employee shall become physically or mentally
disabled so that he is unable to render the services provided for by this Agreement for a period of
six (6) consecutive months, or for shorter periods aggregating six (6) months during any twelve-
month period, TMH may at any time after the last day of the sixth consecutive month of disability
or the day on which the shorter periods of disability equal an ageregate of six (6) months, terminate
the Employment Term for permanent disability by written notice to Employee. TMH shall, -
following such termination, pay an amount equal to 60% of Employee's Base Compensation as then
in effect for the remainder of the Employment Term and shall continue during such period
Employee's participation in medical benefit programs then maintained for TMEI employees (or shall
provide reasonable equivalent benefits), Employee will use his reasonable best efforts to cooperate
with any physician engaged by TMH to determine whether or not permanent disability exists, and
the determination of such physician made in writing to TMH and Employee shall be final and
conclusive for all purposes of this Agreement. Any payments provided for in section 5.2 shall be
offset (bul not below zero) by any salary continuation payments or SER? benefit payments received
by Employee under any plan, program or arrangements in which Employee participated pursuant to
section 3 of this Employment Agreement,

000048
Case 4:09-cv-00273-RH-WCS Document 20-2 Filed 10/26/09 Page 49 of 50
Way-O1-2006 02:28pm Fron-TMH FINANCE DEPT B60 491 6498 T-133 P.008/019 F584

6. NON-COMPETITION. —

Upon termination of employment for any reason, Employee will not for a period of one (1)
year from the date of termination engage in, accept employment from or become affiliated or
connected with, directly or indirectly, or be interested, directly or indirectly, in any way with any
competitor of TMH within the County of Leon, State of Florida. The parties specifically agree that
TME! shall have the right to enforce the provisions of this section through injunctive relief in
addition to and not as substitution for other remedies or damages that may be available to TMH.
This non-competition provision shall survive termination or expiration of this Employment

Agreement.
7, MISCELLANEOUS.

7A Notices. Allnotices or communications hereunder shall be in writing addressed as
follows:

TMH: Chairman, Board of Directors
Tallahassee Memorial Hospital
Magnolia & Miccosukee Roads
Tallahassee, Florida 32308

Employee: Duncan Moore
2179 Miller Landing Road
Tallahassee, FL 32312

Any such notice or communication shall be delivered in person, by cable, by telecopy
(with confirmation copy of such telecopied material delivered in person or by registered or certified
mail, return receipt requested) or by certified or registered mail, retum receipt requested, addressed
as above (or to such other address as such party may designate in writing from time to time), and the
actual date of receipt, as shown by the receipt therefor, shall determine the time at which notice was

given.

72° Severability. If a court of competent jurisdiction determines that any term or
provision hereof is invalid or unenforceable, (a) the remaining terms and provisions hereof shall be
unimpaired and (b)} such court shall have the authority to replace such invalid or unenforceable term
or provision with a term or provision that is valid and enforceable and that comes closest fo
expressing the intention of the invalid or unenforceable term or provision,

7.3. Entire Agreement, This Agreement represents the entire agreement of the parties
and shall supersede any and all previous contracts, arrangements or understandings between TMH
and Employee. The agreement may be amended at any time by mutual written agreement of the
partics hereto,

000049
Case 4:09-cv-00273-RH-WCS D 20-
May-01~20 08 02:26pm = From-TMH FINANCE DEPT ocument 28 ath baat 10/26/08 eee aerate egy

7.4 Withholding. TMH shall be entitled to withhold, or cause to be withheld, from _
payment of any amount of withholding taxes required by law with respect to payments made to
Employee in connection with his employment hereunder,

7.5 Governing Law. This Agreement shall be construed, interpreted and governed in
accordance with the laws of Florida without reference to rules relating to conflict of law.

76 Successors. This Agreement shall be binding upon and inure to the benefit of, and
shall be enforceable by Employee and TMH, their respective heirs, executors, administrators and
assigns. In the event TMH is merged, consolidated, liquidated by a parent corporation, or otherwise
combined into one or more corporations, the provisions of this Agreement shall be binding upon and
inure to the benefit of the parent corporation or the corporation resulting from such merger or fo
which the asset shall be sold or transferred, which corporation front and after the date of such
merger, consolidation, sale or transfer shall be deemed to he TMH for purposes of this Agreement.
In the event of any other assignment of this Agreement by TMH, by operation of law or otherwise,
TMH shall remain primarily liable for its obligations hereunder. This Agreement shall not be

assignable by Employce.

7.1 Headings. The headings of sections herein are included solely for convenience of
reference and shall not control the meaning or interpretation of any of the provisions of this
Agreement, .

7.8 Counterparts. This Agreement may be executed by either of the parties hereto in
counterparts, each of which shall be deemed to be an original, but all such counterparts shall,
together, constitute one and the same instrument.

7.9 Authority. TMH represents and warrants that the signatory party hereto on behalf
of TMH is a duly appointed officer of TMH acting pursuant to the power and authority granted to.
such officer by the Board of Directors of TMH. TMH further represents that the execution of this
Agreement on behalf of TMH by a single signatory party with such power and authority shall be
deemed binding upon TMH. ,

7.10 Attorney's Fees. The prevailing party in any litigation arising out of this Agreement

shall be entitled to reasonable attorney’s fees and costs, through and including any appeal, from the
other party.

900050

 
